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 6                        IN THE UNITED STATES DISTRICT COURT

 7                              FOR THE DISTRICT OF ARIZONA

 8
 9   IN RE: Bard IVC Filters Products Liability        No. MDL 15-02641-PHX-DGC
10   Litigation,
                                                       CASE MANAGEMENT ORDER NO. 41
11
                                                       (Tinlin Trial, SNF Cases, Remand of Mature
12                                                     Cases, and Possible Settlement Procedures)
13
14
15            The Court held a case management conference with the parties on February 1,
16   2019. See Doc. 15070. The conference concerned issues raised in the parties’ joint status
17   report (Doc. 14870) and other matters. On the basis of the conference, the Court enters
18   the following orders:
19            1.     Tinlin Trial.
20            The Court reviewed with the parties the schedule for the Tinlin trial, as set forth in
21   Case Management Order No. 39 (Doc. 12971), as modified by a later minute entry
22   (Doc. 13587). With the exception of one expert deposition, the parties are on schedule.
23   The Court agrees that the parties may complete the deposition of Dr. Morris during the
24   month of February 2019. See Doc. 14870 at 2. The rest of the schedule will remain in
25   place.
26            The Court discussed with the parties the ability of Ms. Tinlin to travel to Phoenix
27   for trial. Plaintiff’s counsel should provide an update to the Court on this issue by
28   March 1, 2019. If Plaintiff’s counsel learn that Ms. Tinlin cannot travel, counsel for
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 1   both sides should confer about her possible remote participation in the trial and, if she
 2   intends to testify, about compliance with Rule 43(a). Plaintiff’s counsel will also need to
 3   begin making arrangements to have Ms. Tinlin participate in the trial from the federal
 4   court in Wisconsin. This topic should be addressed in the March 1, 2019 status report.
 5          2.     Simon Nitinol Filter (“SNF”) Cases.
 6          The Court agrees with the parties’ assessment (id. at 2-3) that the recent order of
 7   the Judicial Panel on Multidistrict Litigation (Doc. 14112) confirms that the SNF cases
 8   are part of this MDL proceeding. The Court enters the following orders:
 9                 a.     By March 1, 2019, Plaintiffs’ lead counsel shall contact and confer
10   with attorneys representing SNF clients in this MDL proceeding. Lead counsel will
11   inform these attorneys that the Court is requiring them to organize into a plaintiffs’
12   steering committee for SNF cases and to assist in the management and efficient litigation
13   of those cases.
14                 b.     Attorneys responsible for those cases shall confer with defense
15   counsel regarding an appropriate schedule and procedures for preparing the cases for
16   trial. These discussions should include the five topics identified in the parties’ joint
17   status report (Doc. 14870 at 3).
18                 c.     The Court will hold a case management conference on March 18,
19   2019, at 2:00 p.m. Current lead counsel for Plaintiffs, defense counsel, and lawyers who
20   agree to represent SNF plaintiffs in this MDL will participate in the conference. The
21   purpose of the conference will be to identify leadership for the SNF plaintiffs and
22   establish an efficient schedule for litigating the SNF cases. The parties shall file a joint
23   status report regarding the SNF cases by March 13, 2019.
24                 d.     Once lead plaintiffs’ counsel have been identified for the SNF cases,
25   the Court will require them to reach agreement on the establishment of a common fund
26   for the SNF cases. The Court presumes that this agreement will be similar to the
27   common fund established for the rest of this MDL. See Doc. 372 (CMO No. 6).
28                 e.     The Court’s intent will be to complete discovery and motion practice


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 1   on the SNF cases in the most efficient manner possible and, if necessary, hold one or two
 2   bellwether trials on the SNF cases.
 3          3.     Remand of Mature Cases.
 4          The Court confirmed that an order for transfer of the record to the transferor
 5   districts for the mature cases has been entered. See Doc. 14973. The Clerk’s office has
 6   sent a zip file to each of these districts containing the record on remand stipulated to by
 7   the parties. See Doc. 13158.
 8          4.     Possible Establishment of Settlement Procedures.
 9          The Court and parties discussed the possibility of establishing a separate track in
10   this MDL for cases likely to be resolved in settlement. Defense counsel proposed that
11   cases which have been settled in principle, or which are near settlement in principle,
12   could be placed on this track until the settlements could be consummated, rather than
13   being remanded to transferor districts. The Court is willing to consider such a procedure,
14   but directed the parties to confer and present a joint proposal by March 1, 2019. Any
15   such proposal would need to specify the basis on which a case would be identified to be
16   placed on a settlement track rather than being remanded to the transferor court, establish
17   a schedule under which cases on the settlement track would either reach a completed
18   settlement or be remanded, and a schedule for when the settlement track would be
19   initiated and how long it would remain in place. After receiving this submission, the
20   Court will consider whether such a settlement track would be appropriate in this case, or
21   whether remand of all cases should simply begin after the Tinlin trial.
22          Dated this 8th day of February, 2019.
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